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->?B3Y GEY HLG/.P?GEY HSLOS.EPY PGY P>@OY "S2=C3EPY P>3Y 236E2.EPY O>.BBY .BOGY 0GCHBXY U?P>Y P>3Y :BBGU@E=Y .22?P?GE.BY OH30?.BY
0GE2?P?GEOY


                +>3Y236E2.EPYO>.BBYO3LT3Y'&YY%'&+YG4Y EP3LC?RP3EPYGE8E3C3EPYPGY/3YUGLA32YGSPYGEY.YO0>32SB3
                  /XYP>3YHLG/.P?GEYG703L

                +>3Y236E2.EPYO>.BBYH.LP?0@H.P3Y?EYP>3YGC3YGE9E3D3EPY(LG=L.CYU>@0>YO>.BBY@E0BS23Y3B31PLGE?0Y
                  CGE?PGL?E=Y.PYP>3Y236E2.EPOY3WH3EO3Y:LY.YH3L@G2YG4Y#,&Y!YY%'&+*Y1GEO30SP?T3BXY.OY2?L30P32Y
                  /XYP>3YHLG/.P?GEYG713L Y SL?E=YP>?OYP@C3Y>3YU?BBYL3C.?EY.PY>?OYHB.03YG4YL3O?23E03Y3W13HPY:LY3CHBGXC3EPY
                  D32?0.BY.HHG?EPC3EPOYGLYPL3.PC3EPY.PP3E2?E=Y0>SL0>Y.E2YGP>3LY.0P@T?P?3OY.HILGT32Y?EY.2T.E03Y/XYP>3Y
                  HLG/.P?GEYG713L Y3YO>.BBYC.?EP.?EY.YP3B3H>GE3Y.PY>?OYHB.03YG4YL3O?23E13YU?P>GSPYH.LPXYB?E3OYP3B3H>GE3Y
                  .EOU3L@E=YC.0>?E3OY.YCG23CY0.BBY:LV.L2?E=Y0.BB3LY Y0.BBYU.?P?E=YHGLP./B3Y0GL2B3OOYP3B3H>GE3Y
                  GLY.EXYGP>3LY23T?13OYGLYO3LT?03OYP>.PYD.XY?EP3L53L3YU?P>YP>3YHLGH3LY<E0P?GE?E=YG4YP>3Y3B30PLGE?0YCGE?PGL?E=Y
                  3KS?HC3EPY:LYP>3Y./GT3YH3L?G2 Y 3YO>.BBYU3.LY.EY3B30PLGE?0YCGE?PGL?E=Y23T?03Y:BBGUY3B30PLGE?0Y
                  CGE?PGL?E=YHLG032SL3OY.E2YH.XYP>3Y0GOPYG4YP>3Y3B30PLGE?0YCGE?PGL?E=Y.BBY.OY2?M30P32Y/XYP>3YHLG/.P?GEY
                  G703L

                +>3Y2343E2.EPYO>.BBYEGPY?E0SLYE3UY0L32?PY0.L2Y0>.L=3OYGLYGH3EYE3UY0L32@PY0.L2OYU@P>GSPYP>3
                  .HHLGT.BYG4YP>3YHLG/.P?GEYG713L Y +>3Y236E2.EPYU?BBY/3Y./B3YPGYG/P.@EYBG.EOY.E2YGH3EYB?F3OYG4Y0L32?PYGEY
                  /3>.B4YG4Y>?OY/SO?E3OO3O

                +>3Y236E2.EPYO>.BBYEGPYUGLAY?EYP>3Y?ET3OPC3EPY?E2SOPN

                +>3Y236E2.EPYC.XYEGPY>.T3Y0GEP.0PYU?P>Y>?OY0G 236E2.EPY%.LAY$G3U3EYGLYP>3YGP>3LYHL@E0?H.BOYGLY
                  ?ET3OPGLOYG4YP>3Y0GCH.EXY-GLB2Y-@23Y.L/GEY$$

                +>3Y2343E2.EPYO>.BBYH.XYP>3Y/.B.E03YGU32YGEY.EXY0GSLQ GL23L32Y8E.E1?.BYG/B?=.P?GEOY.OY:BBGUO
                  *J31?.BYOO3OOC3EPY +>3Y236E2.EPYO>.BBYH.XYDGEP>BXY?EOP.BBC3EPOYG4YEGPYB3OOYP>.EYYYYOP.LP?E=YY2.XOY
                  .;3LYOSH3LT@O?GEY/3=?EOYSEP?BYH.?2Y?EY4SBB
                  )3OP?PSP@GEY +>3Y236E2.EPYO>.BBYH.XYCGEP>BXY@EOP.BBD3EPOYG4YEGPYB3OOYP>.EYYGLYYH3L03EPYG4YE3PY
                  ?E0GC3YU>@1>3T3LY?OY=L3.P3LY/3=?EE?E=YY2.XOY.;3LYOSH3LT?O?GEY/3=?EOYSEP?BYH.@2Y?EY4SBB Y
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